Case 17-04037-bem       Doc 11    Filed 08/19/18 Entered 08/19/18 23:54:18           Desc Main
                                  Document     Page 1 of 6


                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                                 ROME DIVISION


IN RE:                              )              CASE NO. 17-40811-BEM
                                    )
RHONDA T. EDEN                      )              CHAPTER 7
                                    )
              Debtor.               )
____________________________________/
                                    )
TRACEY L. MONTZ                     )
Trustee in Bankruptcy,              )
                                    )
              Plaintiff,            )              ADVERSARY PROCEEDING
v.                                  )
                                    )              NO. 17-04037-BEM
RHONDA T. EDEN and CHRIS EDEN       )
                                    )
              Defendants.           )
____________________________________/


                                  ANSWER
                 OF CHRIS EDEN TO THE AMENDED AND RECAST
             COMPLAINT FOR THE SALE OF JOINTLY OWNED PROPERTY
                             AND OTHER RELIEF


         COMES NOW, Chris Eden (“Defendant”) by and through undersigned counsel, to

answer Trustee Tracey L. Montz (“Plaintiff” or “Trustee”) as to the factual allegations in the

complaint.



                                 AFFIRMATIVE DEFENSES

Co-Ownership.         Defendant pleads that he is a 50% co-owner of both K & M Hardware,

Inc. (“K&M”), and Eden Oak Properties, LLC (“EOP”). To the extent that the Trustee seeks to

sell more than 50% of either K&M and/or EOP as property of the estate (but not as property of a
Case 17-04037-bem       Doc 11     Filed 08/19/18 Entered 08/19/18 23:54:18            Desc Main
                                   Document     Page 2 of 6


co-owner) then such sale would exceed the authority of trustee because such interests are not

within the bankruptcy estate. Further, any sale of such assets must occur pursuant to 11 USC §

363(i) allowing for Defendant, as co-owner, to purchase the property of the estate at the sme

terms s to purported purchaser.



                      PARTIES, JURISDICTION AND VENUE

         1.    The allegations of paragraph 1 are admitted.

         2.    Defendant lacks sufficient information to admit or deny the allegations of

paragraph 2.

         3.    The allegations of paragraph 3 are denied. Defendant resides in Kennesaw, GA

30144.

         4.    The allegations of paragraph 4 are admitted.

         5.    The allegations of paragraph 5 are admitted.



                         COUNT I – DECLARATORY JUDGMENT



         6.    The allegations of paragraph 6 are admitted.

         7.    The allegations of paragraph 7 are admitted.

         8.    The allegations of paragraph 8 are admitted insofar as Defendant claims an

interest in EOP.

         9.    The allegations of paragraph 9 are admitted.

         10.   The allegations of paragraph 10 are admitted, subject to Defendants assertion that

it is and always has been a 50% owner of both K & M Hardware, Inc. (“K&M”), and Eden Oak
Case 17-04037-bem        Doc 11    Filed 08/19/18 Entered 08/19/18 23:54:18              Desc Main
                                   Document     Page 3 of 6


Properties, LLC (“EOP”). To the extent that the Trustee seeks to sell more than 50% of either

K&M and/or EOP then the such sale would exceed the authority of trustee because such interest

are not within the bankruptcy estate.

        11.    The allegations of paragraph 11 are admitted.

        12.    The allegations of paragraph 12 do not require a response, but Defendant does not

oppose this Court’ declaring the respective ownership of Debtor and Defendant in EOP and

K&M.

                  COUNT II – SALE OF JOINTLY OWNED PROPERTY

        13.    The allegations of paragraph 13 are admitted.

        14.    The allegations of paragraph 14 are admitted.

        15.    The allegations of paragraph 15 are admitted.

        16.    The allegations of paragraph 13 are denied. It is impossible to evaluate the

benefits to the estate and the detriment to Defendant without reviewing the terms, conditions, and

purchase price of the hypothetical sale.

        17.    The allegations of paragraph 17 are admitted.

        18.    The allegations of paragraph 13 are admitted, subject to Defendant’s right to

review, consent or object to the terms, conditions and price of the hypothetical sale.

       WHEREFORE, based on the foregoing, Defendant requests this Court:

       (i)     hear evidence and declare the rightful ownership interests of Debtor and

               Defendant; and

       (ii)    review the terms and conditions of any sale before approving same; and

       (iii)   recognize and protect Defendants co-ownership rights under 11 USC § 363(i); and
Case 17-04037-bem       Doc 11   Filed 08/19/18 Entered 08/19/18 23:54:18       Desc Main
                                 Document     Page 4 of 6


     (iv)   issue such other relief as it deems fair and equitable, including the award of

            Defendant’s attorneys fees from any sale of the property as an administrative

            expense against the gross sales price, and not from Defendant’s share of the

            proceeds.




      Respectfully submitted this 19th day of August, 2018

                                                             /s/ Howard P. Slomka
                                                             Howard P. Slomka, Esquire
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Case 17-04037-bem        Doc 11    Filed 08/19/18 Entered 08/19/18 23:54:18      Desc Main
                                   Document     Page 5 of 6


                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
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RHONDA T. EDEN                      )                CHAPTER 7
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TRACEY L. MONTZ                     )
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                                    )                NO. 17-04037-BEM
RHONDA T. EDEN and CHRIS EDEN       )
                                    )
              Defendants.           )
____________________________________/

                                CERTIFICATE OF SERVICE

         This is to certify that I have this day served a copy of the within ANSWER OF CHRIS

EDEN TO AMENDED AND RECAST COMPLAINT FOR THE SALE OF PROPERTY

PURSUANT TO 11 U.S.C §363(h) AND OTHER RELIEF in the above styled case through the

ECF system and by electronic mail to counsel to Trustee and Debtor.
Case 17-04037-bem      Doc 11    Filed 08/19/18 Entered 08/19/18 23:54:18       Desc Main
                                 Document     Page 6 of 6




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      Respectfully submitted this 19th day of August, 2018

                                                             /s/ Howard P. Slomka
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